                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION
                                  2:06cr04


UNITED STATES OF AMERICA,                )
                                         )
Vs.                                      )                      ORDER
                                         )
TERENCE HOWARD ROACH,                    )
                                         )
                  Defendant.             )
________________________________________ )


       THIS MATTER coming on to be heard before the undersigned, pursuant to a motion

(#71) filed by the attorney for the defendant, Andrew B. Banzhoff, requesting a continuance

of a hearing that had been scheduled in this matter for July 18, 2007 and it appearing to the

court at the call of this matter on for hearing that Mr. Banzhoff was represented by his

partner, attorney Sean Devereux .     Mr. Devereux advised the court that Mr. Banzhoff

desired that the motion be withdrawn.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the motion (#71) of Mr. Banzhoff, having

been withdrawn, is hereby rendered MOOT and is hereby DISMISSED.




                                              Signed: July 19, 2007




    Case 2:06-cr-00004-MR-WCM           Document 72       Filed 07/20/07    Page 1 of 1
